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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION


 UNITED STATES OF AMERICA                         )      CRIMINAL NO.: 8:19-cr-00181
                                                  )
            v.                                    )
                                                  )
 DETRIC LEE MCGOWAN                               )
 a/k/a “Fat”                                      )

                    Information Regarding Imposition of Enhanced Sentence

       The United States of America, by and through its Assistant United States Attorney,

Leesa Washington, files this information pursuant to Title 21, United States Code, Section 851

(a), hereby notifying the defendant that he is subject to increased penalties provided by Title 21,

United States Code, Section 851(a), based on the following convictions:

1.     Conspiracy to Possess with Intent to Distribute Cocaine and Crack Cocaine; District of
       South Carolina; Criminal No.:8-97-00170; December 19, 1997.

2.     Conspiracy to Possess with Intent to Distribute Cocaine; Middle District of Georgia;
       Criminal No.: 3:09-00043; February 2, 2011.

       The Government reserves the right to amend this information. Certified copies of the

relevant documents are available for review.

                                               Respectfully submitted,

                                               SHERRI A. LYDON
                                               UNITED STATES ATTORNEY

                                      BY:       s/Leesa Washington
                                               Leesa Washington (Fed I.D. 06973)
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March 2, 2019
